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                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAI‘I

      UNITED STATES OF AMERICA,                    Case No. 19-cr-00099-DKW-KJM

                 Plaintiff,
                                                   ORDER DIRECTING
           v.                                      SUPPLEMENTAL BRIEFING ON
                                                   DEFENDANT MICHAEL J. MISKE
      MICHAEL J. MISKE, JR.,            (1)        JR.’S MOTION FOR JUDGMENT
                                                   OF ACQUITTAL
                 Defendant.


          On July 2, 2024, after the close of the evidence in this case, Defendant

  Michael J. Miske, Jr., for the second time, moved for a judgment of acquittal

  pursuant to Federal Rule of Criminal Procedure 29(a).1 Miske did so, generally,

  with respect to Counts 1, 4, 10-11, 15, and 21, and on specific grounds with respect

  to Counts 2-3, 5-7, and 22. 2

          With respect to Count 2-3, 5-7, and 22, Miske made the following

  arguments: (1) Counts 2 and 3 should be dismissed because the evidence admitted

  at trial did not establish the “purpose” element of the offenses; (2) Counts 5 and 6

  should be dismissed because the evidence admitted at trial did not establish

  Johnathan Fraser had been kidnapped; (3) Count 7 should be dismissed because the


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    Miske previously moved for a judgment of acquittal following the close of the government’s
  case-in-chief. Dkt. No. 1547. On June 10, 2024, the Court granted in part and denied in part
  that first motion. Dkt. No. 1554.
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    Miske also renewed from his first motion arguments with respect to Counts 12-14 and 20.
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  evidence admitted at trial did not establish that Miske offered cash to John Stancil

  and Dae Han Moon in exchange for their agreement to murder Joe Boy Tavares;

  and (4) Count 22 should be dismissed because the character letter in question had

  not been altered so as to obstruct justice. In response, essentially, the government

  argued that sufficient evidence had been admitted at trial to support each of the

  challenged elements and/or issues.

        Perhaps understandably, at the July 2, 2024 hearing, in making their

  respective arguments, the parties did not cite specific admitted evidence to support

  the same, such as by referencing exhibit numbers, trial transcripts, trial days, or

  individual witness statements. The Court now affords the parties the opportunity

  to do so. Specifically, on or before the close of business on Friday, July, 19,

  2024, the parties may file briefs of no more than five (5) pages citing evidence

  admitted during the trial that supports the arguments and/or representations made

  at the July 2, 2024 hearing regarding Count 2-3, 5-7, and 22. Should the parties

  rely upon trial testimony, they must provide specific line and page citations to the

  relevant transcript(s). So it is clear, other than citation to evidence admitted

  during the trial that supports the arguments and/or representations made at the

  July 2, 2024 hearing regarding Count 2-3, 5-7, and 22, no further briefing,

  including any legal argument, is permitted from either party.


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        IT IS SO ORDERED.

        Dated: July 15, 2024 at Honolulu, Hawai‘i.




                                   ___________________________
                                   Derrick K. Watson
                                   Chief United States District Judge




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